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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal No.: 21-cr-108 (PAM/TNL) (3)



UNITED STATES OF AMERICA,                )
                                         )
                              Plaintiff, )
vs.                                      )          DEFENDANT’S PRETRIAL
                                         )        MOTION FOR SEVERANCE OF
J ALEXANDER KUENG,                       )       DEREK CHAUVIN (DEFENDANT 1)
                                         )
                              Defendant. )
                                         )
                                         )


        The Defendant moves this Court for an order granting him a severance from Derek

Chauvin (Defendant 1) on the grounds that:

        1.       The investigation of the co-defendant(s) involves specific facts and certain

evidence to be offered at trial against the co-defendant(s); the admission of such evidence

at a joint trial would cause confusion and prejudice and deprive Defendant of his right to

a fair trial.

        2.       There is a conflict of interest between the defendants. The conflict flows

from Mr. Chauvin’s level of culpability. Due to this conflict, the jurors will not be able to

follow the Court’s instructions and compartmentalize the evidence as it related to Mr.

Kueng.
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      This Motion is based upon all the files, records, and proceedings herein.



                                           Respectfully submitted,

Dated: August 2, 2021                      /s/ Thomas C. Plunkett
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